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07                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
08                                       AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )
                                          )               Case No. CR08-245-RSL
11         v.                             )
                                          )
12   PAUL DERVIN,                         )               DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14
     Offenses charged:
15
            COUNT 1: Conspiracy to Traffic in Motor Vehicles or Motor Vehicle parts, in violation
16
     of 18 U.S.C. § 371.
17
     Date of Detention Hearing:      July 18, 2008
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20
     the following:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            1)        Defendant has a lengthy criminal history, including an assault using firearms.
23
            2)        Defendant has been charged with other infractions involving firearms.
24
            3)        Defendant has an unlawful possession of firearms charge pending before the
25
     Superior Court for King County.
26

     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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01          4)     Defendant is charged in a conspiracy involving substantial economic harm. He is
02 also associated with two dates of birth and two social security numbers. When he was arrested,

03 he was in a stolen vehicle and more than one dozen checkbooks in different names and personal

04 property and identification were found. Consequently, there is a substantial threat of economic

05 danger to the community in addition to substantial issues of the safety of the community.

06          5)     There are no conditions or combination of conditions other than detention that will
07 reasonably address the safety of the community.

08          IT IS THEREFORE ORDERED:
09          (1)    Defendant shall be detained pending trial and committed to the custody of the
10                 Attorney General for confinement in a correctional facility separate, to the extent
11                 practicable, from persons awaiting or serving sentences or being held in custody
12                 pending appeal;
13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with
14                 counsel;
15          (3)    On order of a court of the United States or on request of an attorney for the
16                 government, the person in charge of the corrections facility in which defendant is
17                 confined shall deliver the defendant to a United States Marshal for the purpose of
18                 an appearance in connection with a court proceeding; and
19          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
20                 counsel for the defendant, to the United States Marshal, and to the United States
21                 Pretrial Services Officer.
22                 DATED this 18th day of July, 2008.
23

24
                                                          A
                                                          JAMES P. DONOHUE
25                                                        United States Magistrate Judge

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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